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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BOBBY X. MCCURDY                               : CIVIL ACTION
                                               :
                     v.                        : NO. 20-3458
                                               :
SECRT. JOHN WETZEL, et al.                     :


                                           ORDER
       AND NOW, this 16th day of October 2020, upon considering the incarcerated pro se

Plaintiff’s Motion for leave to proceed in forma pauperis (ECF Doc. No. 4), consistent with

Congress’s mandate to screen an incarcerated person’s Complaint filed without immediately

paying the filing fees, and for reasons in the accompanying Memorandum, it is ORDERED:

       1.      Plaintiff’s Motion for leave to proceed in forma pauperis (ECF Doc. No. 4) is

GRANTED under 28 U.S.C. § 1915;

       2.      Bobby X. McCurdy, #GA-3197, shall pay the full filing fee of $350 in

installments under 28 U.S.C. § 1915(b), regardless of the outcome of this case. We direct the

Superintendent of SCI Phoenix or other appropriate official to assess an initial filing fee of 20%

of the greater of (a) the average monthly deposits to Mr. McCurdy’s inmate account; or (b) the

average monthly balance in Mr. McCurdy’s inmate account for the six-month period

immediately preceding the filing of this case. The Superintendent or other appropriate official

shall calculate, collect, and forward the initial payment assessed under this Order to the Court

with a reference to the docket number for this case. In each succeeding month when the amount

in Mr. McCurdy’s inmate trust fund account exceeds $10.00, the Superintendent or other

appropriate official shall forward payments to the Clerk of Court equaling 20% of the preceding
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month’s income credited to Mr. McCurdy’s inmate account until the fees are paid.         Each

payment shall refer to the docket number for this case;

       3.      The Clerk of Court shall send a copy of this Order to the Superintendent of SCI

Phoenix;

       4.      The Complaint (ECF Doc. No. 1) is DEEMED filed;

       5.      Mr. McCurdy’s Complaint (ECF Doc. No. 1) is DISMISSED with prejudice as

frivolous under 28 U.S.C. § 1915(e)(2)(B)(i);

       6.      Plaintiff’s request for appointment of counsel is DENIED as moot; and,

       7.      The Clerk of Court shall close this case.



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                                                     KEARNEY, J.




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